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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In the Matter of the Application of

JOSEPH LAGANI,                                              Case No.: 1:23-cv-00820
                                   Petitioner,
                                                            NOTICE OF EXHIBIT
against-

ADWANTED USA, INC.,
                                  Respondent

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                                                    NOTICE
           PLEASE TAKE NOTICE that attached hereto are Exhibits A and B to Petitioner’s

 Petition to Confirm Arbitration Award filed in the above captioned case.

 Dated: February 1, 2023

 BROWN RUDNICK LLP                                    REITLER KAILAS & ROSENBLATT LLP


 By:__s/ Geoffrey Coll_______                         By: __s/ Jack McKay_______
 Geoffrey H. Coll                                           Jack P. McKay
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